                      Case 2020CV000812                    Document 1                 Filed 08-28-2020                 Page 1 of 1
                                                                                                                                     FILED
STATE OF WISCONSIN                                              CIRCUIT COURT                                         BROWN          08-28-2020
                                                                                                                                     Clerk of Circuit Court
Kanye West et al vs. Wisconsin Elections Commission                                        Electronic Filing                         Brown County, WI
                                                                                                Notice
                                                                                                                                     2020CV000812
                                                   Case No. 2020CV000812                                                             Honorable John P.
                                                   Class Code: Declaratory Judgment                                                  Zakowski
                                                                                                                                     Branch 6



                                 WISCONSIN ELECTIONS COMMISSION
                                 THIRD FLOOR
                                 212 EAST WASHINGTON AVENUE
                                 MADISON WI 53703




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                                                                                    Brown County Circuit Court
                                                                                    Date: August 28, 2020




GF-180(CCAP), 06/2017 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.

                        Case 1:20-cv-01348-WCG Filed 09/01/20 Page 1 of 19 Document 1-1 Ex. A
      Case 2020CV000812    Document 2        Filed 08-28-2020      Page 1 of 14
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                                                                                   08-28-2020
                                                                                   Clerk of Circuit Court
                                                                                   Brown County, WI
                             WISCONSIN CIRCUIT COURT                               2020CV000812
                                 BROWN COUNTY                                      Honorable John P.
                                                                                   Zakowski
                                                                                   Branch 6

 Kanye West, Michelle Tidball, and Fred                    Case No. ___________________
 Krumberger,

                       Plaintiffs,

 v.                                                              Summons

 Wisconsin Elections Commission,

                       Defendant.



THE STATE OF WISCONSIN, To Wisconsin Elections Commission, 212 East
Washington Avenue, Third Floor, Madison, WI 53703:

    You are hereby notified that the Plaintiff named above has filed a lawsuit or other legal
action against you. The complaint, which is attached, states the nature and basis of the legal
action.

   Within twenty (20) days of receiving this summons, you must respond with a written
answer, as that term is used in chapter 802 of the Wisconsin Statutes, to the complaint. The
court may reject or disregard an answer that does not follow the requirements of the statutes.
The answer must be sent or delivered to the court, whose address is 100 South Jefferson Street,
Green Bay, WI 54301 and to Erick G. Kaardal and Gregory M. Erickson, Plaintiffs’ attorneys,
whose address is 150 South Fifth Street, Suite 3100, Minneapolis, MN 55402. You may have
an attorney help or represent you.

    If you do not provide a proper answer within twenty (20) days, the court may grant
judgment against you for the award of money or other legal action requested in the complaint,
and you may lose your right to object to anything that is or may be incorrect in the complaint.
A judgment may be enforced as provided by law. A judgment awarding money may become a
lien against any real estate you own now or in the future, and may also be enforced by
garnishment or seizure of property.




      Case 1:20-cv-01348-WCG Filed 09/01/20 Page 2 of 19 Document 1-1 Ex. A
   Case 2020CV000812      Document 2   Filed 08-28-2020     Page 2 of 14




Dated: August 28, 2020.                      /s/Erick G. Kaardal
                                             Erick G. Kaardal, 1035141
                                             Gregory M. Erickson, 1050298
                                             Mohrman, Kaardal & Erickson, P.A.
                                             150 South Fifth Street, Suite 3100
                                             Minneapolis, MN 55402
                                             Telephone: (612) 341-1074
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                                             Email:        erickson@mklaw.com
                                             Attorney for the Plaintiffs




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   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 3 of 19 Document 1-1 Ex. A
      Case 2020CV000812      Document 2        Filed 08-28-2020        Page 3 of 14
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                                                                                       Clerk of Circuit Court
                                                                                       Brown County, WI
                               WISCONSIN CIRCUIT COURT                                 2020CV000812
                                   BROWN COUNTY                                        Honorable John P.
                                                                                       Zakowski
                                                                                       Branch 6

 Kanye West, Michelle Tidball, and Fred                      Case No. ___________________
 Krumberger,

                         Plaintiffs,

 v.                                                                 Complaint

 Wisconsin Elections Commission,

                         Defendant.


         The plaintiffs allege the following for their complaint.

                                          Introduction

         The decision of the Wisconsin Elections Commission (“the Commission”) to deny

Kanye West’s and Michelle Tidball’s nominating papers for President and Vice President,

respectively, as untimely has exceeded its authority under Article II, § 1, cl. 2 of the United

States Constitution. Article II, § 1, cl. 2, provides that “[e]ach State shall appoint, in such

Manner as the Legislature thereof may direct,” electors for President and Vice President.

(Emphasis added.) Accordingly, the Commission in its decision cannot add or subtract from

legislatively-enacted statutes directing the appointment of electors for President and Vice

President.

         In this case, the Commission unconstitutionally added an unconstitutional

requirement to Wisconsin Statutes § 8.20(8)(am) affecting the deadline for filing of the

nomination papers. The Commission imposed a more restrictive time limitation for

nomination papers to be submitted than the statutory “not later than 5 p.m.” The




      Case 1:20-cv-01348-WCG Filed 09/01/20 Page 4 of 19 Document 1-1 Ex. A
   Case 2020CV000812         Document 2       Filed 08-28-2020        Page 4 of 14




Commission also impeded the election nomination process by not unlocking building doors

after 4:30 p.m. knowing that a candidate needed immediate access when arriving immediately

before the statutory deadline of “not later than 5 p.m.”

       The Commission accepted the Plaintiffs’ nomination papers for Kanye West as

President and Michelle Tidball for Vice President, but treated them as untimely under the

statutory deadline of “not later than 5 p.m.” To the contrary, even assuming that the

nominating petition papers were accepted by a Commission Elections Specialist at 5:00:14

p.m., that too satisfies the § 8.20(8)(am) statutory text of “not later than 5 p.m.” because it

was not 5:01 p.m. yet. The Commission, unconstitutionally under Article II, § 1, cl. 2,

inserted into the text of § 8.20(8)(am), the text “:00:00” between the statutory text of “5” and

“p.m.” to claim that 14 seconds within that period were cause to declare the West

nomination papers as untimely. Under Article II, § 1, cl. 2, the Commission exceeded its

legal authority by unconstitutionally adding a requirement to what the “legislature” had

directed in § 8.20(8)(am).

       By taking these actions, the Commission violated Article II, § 1, cl. 2 of the United

States Constitution; thus, the plaintiffs’ nomination papers were timely under Wisconsin

Statutes § 8.20(8)(am). The Court should issue a declaratory judgment and an injunction in

favor of Kanye West and Michelle Tidball to place them on Wisconsin’s November 3

general election ballot as candidates for President and Vice President, respectively.

                                   Jurisdiction and Venue

       1.      The Plaintiffs invoke this Court’s jurisdiction under Wisconsin Statutes § 5.06,

section 8. The statute reads:



                                                2



   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 5 of 19 Document 1-1 Ex. A
   Case 2020CV000812      Document 2         Filed 08-28-2020       Page 5 of 14




              (8) Any election official or complainant who is aggrieved by an
              order issued under sub. (6) may appeal the decision of
              the commission to circuit court for the county where the official
              conducts business or the complainant resides no later than 30
              days after issuance of the order. Pendency of an appeal does not
              stay the effect of an order unless the court so orders.

       2.     The Plaintiffs seek declaratory injunctive relief under the Wisconsin

Declaratory Judgments Act under Wisconsin Statutes § 806.04.

       3.     Venue is proper in this Court under Wisconsin Statutes 801.50 because

Plaintiff and presidential elector Fred Krumberger resides in Brown County.

                                            Parties

A. The Plaintiffs

Plaintiff Fred Krumberger

       4.     Plaintiff Fred Krumberger is a presidential elector for Kanye West and

Michelle Tidball and is a voter, resident, and taxpayer in Wisconsin. He resides in Brown

County.

Plaintiff Kanye West

       5.     Plaintiff Kanye West is a candidate for President of the United States and is a

voter, resident, and taxpayer in Wyoming.

Plaintiff Michelle Tidball

       6.     Plaintiff Michelle Tidball is a candidate for Vice President of the United States

and is a voter, resident, and taxpayer in Wyoming.

Defendant Wisconsin Elections Commission

       7.     Defendant Wisconsin Elections Commission is an executive branch agency

located in Madison, Wisconsin.


                                              3



   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 6 of 19 Document 1-1 Ex. A
    Case 2020CV000812        Document 2         Filed 08-28-2020       Page 6 of 14




                                             Standing

         8.     Plaintiffs have suffered a real and concrete injury that is directly traceable to

the Defendant Wisconsin Elections Commission under Wisconsin Statutes § 5.06, section 8.

         9.     Plaintiff Kanye West and his running mate Michelle Tidball, have been denied

access to Wisconsin’s November 2020 general election ballot as presidential and vice-

presidential candidates, respectively, because of the Commission’s decision.

         10.    Fred Krumberger, as a West and Tidball presidential elector and voter, has

been denied his right to cast his support for them in the December 2020 Electoral College

vote if Kanye West wins the Wisconsin popular vote in the November 3 general election.

         11.    The injury is caused by the Defendant Commission’s decision dated August

20, 2020. A true and correct copy of the decision is attached as Exhibit A.

         12.    The Court’s declaratory judgment and injunction requiring Kanye West and

his running mate Michelle Tidball to be on the general election ballot will redress the

plaintiffs’ injuries.

                                       Statement of Facts

                                    Procedural Background

         13.    Supporters of Kanye West for President collected signatures from Wisconsin

voters on nomination papers on or about August 3rd and 4th to add Mr. West and his vice-

presidential running mate Michelle Tidball to Wisconsin’s November 2020 general election

ballot

         14.    Kanye West and Michelle Tidball are independent candidates for President

and Vice President, respectively.



                                                 4



   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 7 of 19 Document 1-1 Ex. A
   Case 2020CV000812        Document 2       Filed 08-28-2020       Page 7 of 14




       15.    West announced his candidacy for President on July 4, 2020, and named

Tidball as his running mate shortly thereafter.

       16.    It is undisputed that the nominating papers complied with Wisconsin’s

regulations regulating all candidates for public office. Wisconsin Election Law 2.05,

subdivisions (1) and (2):

              (1) Each candidate for public office has the responsibility to
              assure that his or her nomination papers are prepared,
              circulated, signed, and filed in compliance with statutory and
              other legal requirements.

              (2) In order to be timely filed, all nomination papers shall be in
              the physical possession of the filing officer by the statutory
              deadline. Each of the nomination papers shall be numbered,
              before they are filed, and the numbers shall be assigned
              sequentially, beginning with the number “1". Notwithstanding
              any other provision of this chapter, the absence of a page
              number will not invalidate the signatures on that page.

       17.    After obtaining the more than the minimum necessary number of voter

signatures—over 2,000—supporters of the West campaign filed the nominating papers with

the Commission.

       18.    Supporters of the West campaign complied with the requirements of

Wisconsin Statutes § 8.20(8)(am) regarding when signatures could be acquired and the filing

deadline, here, August 4:

              Nomination papers for independent candidates for president
              and vice president, and the presidential electors designated to
              represent them, may be circulated no sooner than July 1 and
              may be filed not later than 5 p.m. on the first Tuesday in August
              preceding a presidential election.




                                                  5



   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 8 of 19 Document 1-1 Ex. A
   Case 2020CV000812        Document 2       Filed 08-28-2020       Page 8 of 14




          19.   The nomination papers were filed with the Commission office, located on the

third floor of the office building located at 212 East Washington Avenue in Madison on

August 4.

          20.   Among representatives of the West campaign at the time of the Commission

filing was attorney Lane Ruhland of the Husch Blackwell law firm.

The Commission knowingly kept the building’s doors locked which impeded access
to the Commission’s offices.

          21.   On August 4, Ms. Ruhland was in contact with the Commission staff

regarding West’s nomination papers, namely issues related to general compliance.

          22.   On August 4, the Commission staff told Ms. Ruhland in a phone conversation

that the building at 212 East Washington Avenue, Madison—the Commission office’s

location—would be locked.

          23.   The Commission staff also verbally communicated that the second layer of

double doors to the main floor of the building, the only access to the building, would be

locked.

          24.   At all times, the Commission knew of the statutory deadline for candidates to

file their nominating papers. The Commission knew the statutory deadline to be “not later

than 5 p.m.”

          25.   At all times, the Commission knew the building’s doors would be locked

before 5 p.m.

          26.   The building’s doors were locked before 5 p.m.

          27.   Locked doors impede access to buildings.

          28.   Locked doors to the building impeded access to the Commission offices.


                                               6



   Case 1:20-cv-01348-WCG Filed 09/01/20 Page 9 of 19 Document 1-1 Ex. A
    Case 2020CV000812       Document 2       Filed 08-28-2020      Page 9 of 14




        29.     The Commission knew that locked doors of the building would impede free

access to its office.

        30.     The Commission could have unlocked the building’s doors prior to the

statutory deadline for accepting nominating papers.

        31.     The Commission could have retained one of the many government employees

in Madison, Wisconsin, to be at the locked door on August 4 before 5 p.m. to allow people

in the locked door so that they could timely deliver their nominating papers.

        32.     Instead, the Commission chose to keep the building’s doors locked.

        33.     The Commission knowingly kept the building’s doors locked.

        34.     The locked doors impeded access for candidates and their supporters to

timely deliver their nominating papers.

        35.     Specifically, the Commission, by keeping the building’s doors locked and

proceeding as it did, impeded West supporters from timely entering the building to file

West’s nominating papers.

        36.     Likewise, the Commission staff, in a conversation with Ms. Ruhland earlier on

August 4, did not inform Ms. Ruhland that the Commission’s general compliance telephone

number she was using was NOT the phone number to contact Commission staff to open

the building’s locked doors.

        37.     Later, Commission staff instructed Ms. Ruhland that when she arrived at the

building she was to call the number found on the outside of the building and thereafter, a

Commission staff member would come down to the main floor and unlock the double doors

of the building.



                                               7



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 10 of 19 Document 1-1 Ex. A
   Case 2020CV000812        Document 2          Filed 08-28-2020    Page 10 of 14




       38.      Ms. Ruhland and two other West nominating petition coordinators arrived at

the Commission building before 5:00:00 p.m.

       39.      Before 5:00:00 p.m., Ms. Ruhland searched for the number outside the

building to call to have Commission staff to unlock the doors and get access to the building.

       40.      Ms. Ruhland found the phone number posted near the inner layer of double

doors. She read the phone number. She called the phone number to gain access to the

locked building as Commission staff had instructed her to do.

       41.      As Ms. Ruhland approached the locked building to obtain the phone number

to gain access, she did not see any person at the locked doors to allow her access to the

building.

       42.      Before 5:00:00 p.m., Ms. Ruhland called the number found on the outside of

the building.

       43.      “Not later than 5:00 p.m.,” a Commission Election Specialist, unlocked the

inner layer of double doors on the main floor of the building and allowed Ms. Ruhland and

the other two West campaign representatives access to the building.

       44.      The Commission Election Specialist accepted the West nominating papers as

“not later than 5 p.m.”

       45.      Only later did the Commission find the acceptance to be late based on an

estimated time of delivery of 5:00.14.

The Election Commission failed to keep accurate track of time when
approaching the time deadline for the submission of the nomination papers.

       46.      Ms. Ruhland is unaware of the timing device used by the Commission to note

the time, its accuracy, or its use as an official timepiece.


                                                  8



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 11 of 19 Document 1-1 Ex. A
   Case 2020CV000812       Document 2         Filed 08-28-2020        Page 11 of 14




         47.   The Commission staff member who unlocked the locked building doors did

not identify how he knew the time, what time piece he was using, or identify anyone

authorized to keep time for the Commission.

         48.   Although the Commission accepted the nominating papers a Commission

staff member stated that the acceptance occurred at 5:00:14 p.m.—14 seconds after 5:00

p.m.

         49.   No time stamp or other document has been provided to prove that the time

was actually 5:00.14 p.m. There is no note of or any notice of any official timepiece or time

keeper for the Elections Commission.

                                             Claim

The Commission erroneously treated the nomination papers of the Kanye West
campaign, timely under § 8.20(8)(am), as untimely.

         50.   The Plaintiffs incorporate the complaint’s previous paragraphs.

         51.   An agency decision shall be set aside or modified if the agency has erroneously

interpreted a provision of law and a correct interpretation compels a particular action.

         52.   The Commission decision, processes, and procedures utilized to find the West

campaign nomination papers as untimely resulted in unconstitutional burdens on Plaintiffs

and the West campaign.

         53.   The Commission has exceeded its authority under Article II, § 1, cl. 2 of the

United States Constitution in denying the petition as untimely.

         54.   Article II, § 1, cl. 2, provides that “[e]ach State shall appoint, in such Manner

as the Legislature thereof may direct,” electors for President and Vice President. (emphasis

added)


                                                9



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 12 of 19 Document 1-1 Ex. A
   Case 2020CV000812       Document 2        Filed 08-28-2020          Page 12 of 14




       55.    The Commission in its decision cannot add or subtract from legislatively-

enacted statutes directing the appointment of electors for President and Vice President.

       56.    In this case, the Commission unconstitutionally added two requirements to

Wisconsin Statutes § 8.20(8)(am) affecting the filing of the nomination papers: (1) a

procedure where petitioners had to search for a phone number on the outside of a building

to call a Commission staff person to unlock the doors to the Elections Commission

building; and (2) a more restrictive time limitation for nomination papers to be submitted

than the statutory “not later than 5 p.m.”

       57.    The legislatively-enacted statute states that, “[n]omination papers for

independent candidates for president and vice-president, and the presidential electors

designated to represent them…may be filed not later than 5 p.m. on the first Tuesday in

August preceding a presidential election.” Wis. Stat. § 8.20(8)(am).

       58.    Wisconsin Statutes § 8.20(8)(am), under Article II of the U.S. Constitution,

precludes the Elections Commission’s procedures to impede candidates to reach the

Commission’s office’s to file nominating papers by keeping building doors locked, requiring

West nominating circulators or others to search for a phone number on the outside of a

building to call a Commission staff person to unlock the doors to the building to gain access

to the Elections Commission.

       59.    Article II of the U.S. Constitution and Wisconsin statutes require that the

doors to the Commission’s office—as with the November 3 polling places—must not be

locked prior to statutory deadlines.




                                              10



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 13 of 19 Document 1-1 Ex. A
   Case 2020CV000812         Document 2         Filed 08-28-2020        Page 13 of 14




       60.       The nomination papers for Kanye West as President and Michelle Tidball for

Vice President were presented to the filing officer in compliance with the statutory text “not

later than 5 p.m.”

       61.       Even assuming, based on an official clock, that the nominating petition papers

were presented to the filing officer at 5:00:59 p.m. (which has not been alleged here) that too

satisfies the § 8.20(8)(am) statutory deadline of “not later than 5 p.m.” because it was not

5:01 p.m. yet. 5:00:59 p.m. would be within the statutory deadline of “not later than 5 p.m.”

       62.       Only by the Commission unconstitutionally inserting into the statute “:00:00”

between “5” and “p.m.” could the Commission reject the nomination papers as untimely as

it did. Ex. A.

       63.       By adding the two unconstitutional requirements to § 8.20(8)(am), the

Commission violated Article II, § 1, cl. 2 of the United States Constitution.

       64.       The plaintiffs’ nomination papers were timely under Wisconsin Statutes

8.20(8)(am).

       65.       The Court should issue a declaratory judgment and injunction in favor of the

Kanye West and Michelle Tidball causing them to be on the November 3 general election

ballot as candidates for President and Vice President, respectively.

                                          Prayer for Relief

       Therefore, the plaintiffs respectfully ask that this Court to:

       1.        Declare that Wisconsin Elections Commission acted unconstitutionally to

interpret Wisconsin Statutes § 8.20(8)(am) by ultimately declaring the Kanye West and

Michelle Tidball independent candidate nominating papers for President and Vice President



                                                 11



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 14 of 19 Document 1-1 Ex. A
   Case 2020CV000812       Document 2          Filed 08-28-2020     Page 14 of 14




as untimely filed and that the proper interpretation of Wisconsin Statutes § § 8.20(8)(am) is

nomination papers must be accepted if presented before 5:01:00 p.m.

       2.     Issue an injunction enjoining the defendant to accept the nomination papers

of the plaintiffs as timely and directing the Wisconsin Elections Commission to ensure

Kanye West and Michelle Tidball appear on the November 2020 general election ballot as

candidates for President and Vice President;

       3.     Award the Plaintiffs all costs, expenses, and fees allowed by law; and

       4.     Award the Plaintiffs such other and further relief as this Court deems just.

Dated: August 28, 2020.                              /s/Erick G. Kaardal
                                                     Erick G. Kaardal, No. 1035141
                                                     Gregory M. Erickson, No. 1050298
                                                     Mohrman, Kaardal & Erickson, P.A.
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                                                     Telephone: (612) 341-1074
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                                                     Email:        kaardal@mklaw.com
                                                     Email:        erickson@mklaw.com
                                                     Attorneys for the Plaintiffs




                                                12



  Case 1:20-cv-01348-WCG Filed 09/01/20 Page 15 of 19 Document 1-1 Ex. A
               Case 2020CV000812                  Document 3             Filed 08-31-2020             Page 1 of 1
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                                                                                                                           08-31-2020
Enter the name of the            STATE OF WISCONSIN, CIRCUIT COURT,                                                        Clerk of Circuit Court
county in which the case is
                                 BROWN                                                   COUNTY                            Brown County, WI
filed.
                                                                                                                           2020CV000812

Enter the name of the            Petitioner/Plaintiff:
petitioner or plaintiff in
that original case file.
                                 Kanye                                        West
                                 Michelle                                     Tidball
                                  First name               Middle name       Last name

                                 -vs-                                                                            Request to Correct
Enter the name of the            Respondent/Defendant:                                                         Error in Court Records
respondent or defendant in
that original case file.                                                                                       Case No.
                                 Wisconsin Elections Commission
                                                                                                               2020cv000812
Enter the case number.            First name               Middle name       Last name




                                  1. I       am      am not          one of the parties to this case. If I am not a party, my relationship
For 3, describe in as much
                                     to this case is                                                                                     .
detail as you can what the
error is. Note: The fact
that you disagree with a          2. There is an error in the records of the clerk of court in the above case.
court’s decision is NOT
an error that can be              3. The following information is incorrect: Addresses of Plaintiffs Kanye West and Michelle Tidball
corrected.                                                                                                                         .
For 4, write in how it is
that you know that the            4. I know this information is incorrect because: clerical error when loading initial case information.
information in the records           The correct address for Kanye West and Michelle Tidball should be:
is incorrect.                        3202 Big Horn Avenue, Cody, WY 82414


Sign your name, print your                                                         /s/Erick G. Kaardal
name on the line and date                                                                                      Signature
the document.                                                                      Erick G. Kaardal
                                                                                                         Name Printed or Typed
                                                                                          th
                                                                                   150 S 5 St., Ste. 3100, Mpls MN 55402
                                                                                                               Address

                                                                                   612-341-1074
                                                                                                      Daytime Phone / Fax Number

                                                                                   August 28, 2020
                                                                                                                 Date




GF-184A, 02/18 Request to Correct Error in Court Records
                                  This form shall not be modified. It may be supplemented with additional material.

                Case 1:20-cv-01348-WCG Filed 09/01/20 Page 16 of 19 Document 1-1 Ex. A
                     Case 2020CV000812                Document 4                 Filed 08-31-2020                 Page 1 of 1
                                                                                                                                        FILED
STATE OF WISCONSIN                                CIRCUIT COURT                                      BROWN COUNTY                       08-31-2020
                                                                                                                                        Clerk of Circuit Court
                                                                                                                                        Brown County, WI
                                                                                                                                        2020CV000812
Kanye West et al vs. Wisconsin Elections Commission                                       Notice of Hearing

                                                                                           Case No: 2020CV000812



                     COURT ORIGINAL




This case is scheduled for: Telephone scheduling conference

Date                                      Time                                     Location
09-01-2020                                09:00 am                                 Brown County Courthouse, 2nd Floor, Room 230
Circuit Court Judge/Circuit Court Commissioner                                     100 South Jefferson Street
John P. Zakowski                                                                   P O Box 23600
                                                                                   Green Bay WI 54305-3600
Re
Declaratory Judgment

This matter will not be adjourned by the court except upon formal motion for good cause or with the specific approval of the court
upon stipulation by all parties.

This matter will be held by telephone. Plaintiff's counsel is directed to make arrangements for a conference call including the
Court in the call at 920-448-4120.


 If you require reasonable accommodations due to a
 disability to participate in the court process, please call                            Brown County Circuit Court
 920-448-4155 prior to the scheduled court date. Please                                 Date: August 31, 2020
 note that the court does not provide transportation.


DISTRIBUTION                              Address                                                                               Service Type
Court Original
Gregory Martin Erickson Esq                                                                                                     Electronic Notice
Erick Gregg Kaardal                                                                                                             Electronic Notice
Wisconsin Elections Commission            212 East Washington Avenue, Third Floor, Madison, WI 53703                            Mail Notice




GF-101(CCAP), 10/2009 Notice of Hearing
                                            This form shall not be modified. It may be supplemented with additional material.

                    Case 1:20-cv-01348-WCG Filed 09/01/20 Page 17 of 19 Document 1-1 Ex. A
  Case 2020CV000812     Document 5    Filed 08-31-2020   Page 1 of 2
                                                                       FILED
                                                                       08-31-2020
                                                                       Clerk of Circuit Court
                                                                       Brown County, WI
STATE OF WISCONSIN CIRCUIT COURT         BROWN COUNTY                  2020CV000812


KANYE WEST, MICHELLE TIDBALL,
AND FRED KRUMBERGER
     Plaintiffs,
     v.                                            Case No. 2020CV0812
WISCONSIN ELECTIONS
COMISSION,
     Defendant.

                         NOTICE OF APPEARANCE

     PLEASE TAKE NOTICE that, subject to and without waiving any
objections to jurisdiction or to the Court’s competency to proceed, Defendant
Wisconsin Elections Commission appears in this matter by its attorneys
Assistant Attorneys General Steve Kilpatrick and Karla Keckhaver, and
requests that service of all papers be made upon Assistant Attorneys General
Kilpatrick and Keckhaver as counsel of record at 17 West Main Street,
Madison, Wisconsin 53703, by first class mail at Post Office Box 7857,
Madison, Wisconsin 53707-7857, or via the ECF system for the Wisconsin
Circuit Court System.
     Dated this 31st day of August 2020.
                                     Respectfully submitted,

                                     JOSHUA L. KAUL
                                     Attorney General of Wisconsin

                                     Electronically signed by:

                                     s/ Steven C. Kilpatrick
                                     STEVEN C. KILPATRICK
                                     Assistant Attorney General
                                     State Bar #1025452




          Case 1:20-cv-01348-WCG Filed 09/01/20 Page 18 of 19 Document 1-1 Ex. A
  Case 2020CV000812   Document 5    Filed 08-31-2020   Page 2 of 2




                                   s/ Karla Z. Keckhaver
                                   KARLA Z. KECKHAVER
                                   Assistant Attorney General
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                                   Attorneys for Wisconsin Elections
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 Case 1:20-cv-01348-WCG Filed 09/01/20 Page 19 of 19 Document 1-1 Ex. A
